  Case 21-81245      Doc 40    Filed 05/11/23 Entered 05/12/23 12:07:14             Desc Main
                                 Document     Page 1 of 1
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Western Division

In Re:                                       )               BK No.:     21-81245
YESENIA ARELLANO                             )
                                             )               Chapter: 13
                                             )
                                                             Honorable Thomas M. Lynch
                                             )
                                             )
               Debtor(s)                     )

                                   ORDER MODIFYING PLAN

       This matter coming before the Court on the Debtor's Motion, the Court having jurisdiction, with
due notice having been given to all parties in interest,

  IT IS ORDERED:

  1. The plan payment default is deferred to the end of the plan.

  2. The monthly plan payment is increased to $472.00 per month.




                                                         Enter:


                                                                    Honorable Thomas M. Lynch
Dated: May 11, 2023                                                 United States Bankruptcy Judge

 Prepared by:
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